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           EXHIBIT A
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------------X
  CHRISTOPHER GRIEF,

                                                       Plaintiff,           15-CV-7240
                                                                            (ADS)(AYS)
                   -against-

                                                                            STIPULATION
  NASSAU COUNTY, SHERIFF MICHAEL SPOSATO,                                   AND ORDER OF
  JOHN DOE 1, JOHN DOE 2, and JOHN DOE 3,                                   CONFIDENTIALITY
  individually and in their official capacities

                                                        Defendants.
  ----------------------------------------------------------------------X

          The parties agree pursuant to Fed. R. Civ. P. 26(c), that the following provisions shall

  govern the handling of confidential information and documents in this action:

      1. Definitions. For purposes of this agreement:

          (a). “Confidential Information” means any information which the designating party deems

  confidential, including but not limited to information consisting of trade secrets, investigative

  techniques, and/or procedures, know-how, proprietary data and/or commercial, financial, personal,

  or personnel information which the designating party has maintained in confidence. It shall be the

  duty of the party who seeks to invoke protection under this Agreement to give notice, in the matter

  set forth hereinafter, of the documents and testimony to be covered hereby, and the duty of the any

  other party or person to maintain confidentiality hereunder shall commence with such notice.

          (b). “Producing party” or “Designating party” shall mean the party (and its counsel) who

  is producing information to another party and who deems that information confidential.

          (c). “Inspecting party” or “Non-designating party” shall mean the party (and its counsel)

  who receives the confidential information supplied by the producing party.
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          (d). “Counsel” shall mean the law firm engaged by the plaintiff and the defendant to

  represent them in this litigation.

          (e). “Document” shall include “writings, drawings, graphs, charts, photographs, phone

  records, and any other data compilations from which information can be obtained, translated, if

  necessary, by the respondent through detection devices into reasonably usable form” as set forth

  in Rule 34(a) of the Federal Rules of Civil Procedure.

          (f). “Party,” in the case of a party to this action which is a corporation, means any officer,

  director, shareholder, or employee of such party, all of whom shall be bound by the provisions of

  this Confidentiality Agreement.

          (g). “Produce” means the transmission of any “document” during the course of and in

  connection with this litigation, including appeals thereof, to a “party” or its “attorneys,” whether

  voluntary or involuntary, whether pursuant to request or legal process, and whether in accordance

  with the Federal Rules of Civil Procedure or otherwise.

          (h). “Person” means, in the plural as well as the singular, any individual, corporation, firm,

  association, partnership, business trust, government body or any other legal or business entity,

  unless specified herein to the contrary.

      2. Documents

          (a). Documents produced in the course of discovery herein (either formally or informally)

  which the producing party deems to contain confidential information may be designated as

  confidential by the producing party and the documents or portions thereof deemed to be

  confidential which are copies and delivered to counsel for the inspecting party shall be marked

  “CONFIDENTIAL.”




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         (b). The producing party shall designate the document as confidential at the time of its

  production and/or inspection by the inspecting party. The producing party’s failure to do so,

  however, does not waive its right to designate that document or any portion thereof as confidential,

  if within thirty (30) days after production, notification is given as to the confidential status of the

  document. Should the inspecting party disseminate that document or the information contained

  therein any time during the thirty days after production, the inspecting party shall be liable.

  However, should the producing party fail to designate the document as confidential within thirty

  (30) days after production, the inspecting party shall have no obligation, responsibility or liability

  for, or with respect to, any pre-designation dissemination of that document or the information

  contained therein.

     3. Deposition Testimony

         If confidential information is contained in deposition, trial or other testimony, the transcript

  may be designated as containing confidential information in accordance with this Agreement by

  notifying the other party (1) on the record, at the time of the testimony, or (2) in writing, within

  thirty (30) days of receipt of the transcript of the specific pages and lines of the transcript which

  contain confidential information. At any deposition session when counsel for a party deems that

  the answer to a question will result in the disclosure of confidential information within the meaning

  of this Agreement, counsel may direct that the question and answer be transcribed separately from

  the remainder of the deposition and if filed with the Court, shall be filed “under seal” in accordance

  with the District Court’s procedures for documents filed under seal. A courtesy copy of the

  document shall be filed in a sealed envelope marked in the manner set forth in Paragraph “5”

  hereof. When such a direction has been given, the testimony shall be disclosed only to those

  individuals specified in Paragraph “6” hereof.         Counsel for the party whose confidential



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  information is involved may also request that all persons other than the reporter, counsel and

  individuals specified in Paragraph “6” hereof leave the deposition room during the confidential

  portion of the deposition. The failure of such other persons to comply with a request of this type

  shall constitute substantial justification of counsel to advise the witness that he/she need not answer

  a question seeking the revelation of confidential information.

     4. Interrogatory Answers

         If an interrogatory answer contains confidential information, the answer shall be provided

  in a separate document, appended to the main body of answers and incorporated by reference

  therein. The response to the interrogatory in the main body of the answers should state: “requests

  confidential information, see response in confidential addendum containing the confidential

  information (e.g. affidavits, etc.), which response is incorporated fully herein by reference.”

     5. Filing Under Seal

         Any confidential information including transcripts of depositions or portions thereof,

  exhibits, answers to interrogatories, and responses to requests for admissions which have therefore

  been designated as comprising or containing confidential information, or any pleading or

  memorandum or other document purporting to reproduce or paraphrase such information, if filed

  with the Court, shall be filed in accordance with the District Court’s procedures for filing

  documents under seal. A courtesy copy of the document shall be filed in a sealed envelope(s) or

  other appropriately sealed containers on which shall be endorsed the title of this action, an

  indication of the nature of its contents, the word “Confidential” and a statement substantially in

  the following terms:




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           “CONFIDENTIAL. Filed Pursuant to a Confidentiality Agreement by and between
           Jeffrey Adam Rothman, Esq. and John Ware Upton Esq. as attorneys for Plaintiff
           and the Nassau County Attorney’s Office as attorneys for Defendants. Not to be
           opened nor the contents revealed except (1) to the Court and then resealed; and/or
           (2) by agreement of the parties; and/or (3) by prior order of this Court.”

           The party filing the documents shall serve notice upon all other parties that the above

  procedure is being invoked.

           At the trial of this action or at any hearing relating to this action before any judicial officer,

  subject to the rules of evidence and other of the Court, a party may use any confidential information

  for any purpose, provided that adequate prior notice of such use is given to counsel for the opposing

  party to permit the opposing party the opportunity to obtain appropriate protection from the Court,

  including a request to the Court that the courtroom be cleared of persons not subject to the

  Agreement and that the Court employees be advised as to the terms of this Agreement.

     6. Individuals Subject to this Agreement

           (a). Each and every page or sheet of all transcripts of depositions, exhibits, answers to

  interrogatories and requests for admissions, copies thereof, other documents and all information

  obtained by an inspection of files, facilities or documents by counsel for any party pursuant to

  pretrial discovery in this action that have been designated by the other party as compromising or

  containing its confidential information shall be marked “CONFIDENTIAL” and shall be retained

  by the receiving party’s counsel and shall not be disclosed or used by an non-designated person

  other than those listed below. Any material marked “CONFIDENTIAL” shall be used for

  prosecuting and/or defending the within action only, and for no other purpose. Any unauthorized

  disclosure in violation of the order shall be subject to discipline by the contempt powers of the

  Court.




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           (b). Confidential information shall not be disclosed to any person other than (i) a party to

  this action and counsel for the parties to this litigation and office personnel employed or engaged

  in the preparation for, or in aiding in the trial of this action; (ii) independent outside persons (i.e.

  persons not employees of a party), not to exceed five, requested by counsel to furnish technical or

  expert services1 or to give testimony with respect to the subject matter for the trial of this action;

  and (iii) the Court including necessary secretarial and law clerk personnel assisting the Court.

           (c). Each person to whom disclosure may be made by counsel for a party shall first be

  identified not less than ten (10) days before the disclosure, to counsel for the party designating the

  information as confidential and shall, in a written instrument delivered beforehand to such counsel,

  acknowledge that he/she is fully familiar with the terms of this Confidential Agreement and agrees

  in writing, to comply with, and be bound by, such Agreement until modified by further Order of

  the Court or by agreement of the parties hereto. Counsel for the designating party shall have the

  right to object, in writing within five (5) business days after receiving the required identification,

  to such disclosure to the person or persons selected by counsel for the non-designating party and

  should such objection be made, no disclosure shall be made to such objected person without leave

  of the Court.

      7. Disclosure

           No person or party shall disclose to anyone not specified in Paragraph “6” any information

  designated as confidential under this Agreement, without prior written consent of the designating

  party or further order of this Court. Confidential information disclosed pursuant to this Agreement

  shall not be used by a recipient thereof for any purpose other than for purposes of preparing this

  action for trial.


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    All experts hired by the parties must sign an affidavit acknowledging that the information being provided is subject
  to a confidentiality agreement and they agree to abide by the terms of said confidentiality agreement.

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     8. Restrictions of Disclosure

         The restrictions on dissemination of confidential information contained herein shall not

  apply to information which, prior to disclosure hereunder, was in the possession of an inspecting

  party or a person who, absent this Agreement, is under no restriction with respect to the

  dissemination of such confidential information or to information which is public knowledge or

  which, after disclosure, becomes public knowledge other than through an act or omission of a party

  receiving the information designated as confidential, provided that if a party to this Agreement

  who is to receive any confidential information disagrees with respect to its designation as

  confidential information, in full or in part, it shall so notify the producing party in writing,

  providing a brief statement setting forth the basis for its objection and the designation, and they

  will thereupon confer as to the status of the subject information proffered within the context of this

  Agreement within ten (10) days of the sending of such notice. If the recipient and producing

  parties are unable to agree to the status of the subject information, any party to this Agreement

  may raise the issue of the designation of such a status to the Court upon ten (10) days written

  notice. The Court may raise the issue of designation of the confidential status without any request

  from a party. In any disagreement over the designation of confidential information, the designating

  party bears the burden of showing that the designated information is confidential information

  within the scope of this Agreement. No party to this action shall be obligated to challenge the

  propriety of such designation, and a failure to do so shall not preclude a subsequent challenge on

  the propriety of such designation and shall not constitute an admission that any information is in

  fact confidential.




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     9. Reservation of Rights

         (a). This Agreement is intended to provide a mechanism for the handling of confidential

  information and documents for which there is no objection other than confidentiality. Each party

  reserves the right to object to any disclosure of information or production of any document it deems

  confidential on any other ground it may deem appropriate, and any party may move for relief from,

  or general or particular modification of, the mechanism for maintaining confidentiality herein set

  forth or the application of this Agreement in any particular circumstance.

         (b). Upon final termination of this litigation, within thirty (30) days, each party that is

  subject to this Agreement shall assemble and return to the producing party all items containing the

  producing party’s confidential information produced in accordance with this Agreement, including

  all copies of such matter which may have been made, but not including copies containing notes or

  other attorney work product that may have been placed thereon by counsel for the receiving party.

  All copies containing notes or other attorney’s work product shall be destroyed promptly after final

  termination by the receiving party who will so inform the disclosing party. As an alternative to

  the return of all such confidential information, the recipient may destroy such confidential

  information within thirty (30) days of final termination of the litigation. Promptly after the return

  or destruction of items containing the producing party’s confidential information, the receiving

  party shall by letter certify that all items containing the producing party’s confidential information

  have been fully returned and/or destroyed, respectively. Receipt of all material returned to the

  producing party shall be acknowledged in writing if requested by the receiving party and the

  receiving party has specified what has been returned by it.

         (c). Nothing herein shall prevent disclosure of any confidential information (1) by the

  producing party or (2) to any employee or officer of the producing party or (3) to any person, no



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   longer affiliated with the producing party, who either authored, in whole or part, or who received

   the confidential information in confidence prior to the initiation of this litigation.

           (d). Nothing in this Agreement shall be deemed a waiver of any right any party otherwise

   might have under the Federal Rules or the doctrines of attorney/client privilege, attorney work

   product, or any other privileges.

           (e). This Agreement shall survive the final termination of this action with respect to any

   confidential information. The Court shall retain jurisdiction over the parties and counsel for the

   parties as necessary to enforce this Agreement.

       10. Signatures

           A facsimile or scanned image signature of this Stipulation and Order of Confidentiality has

   the full force and effect of an original.




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                                    Confidentiality Agreement

                       Grief v. Nassau County et al., 15-CV-4720 (ADS)(AYS)

   Dated: New York, NY

                                      , 2016


   BY:
   Jeffrey Adam Rothman
   315 Broadway, Suite 200
   New York, NY 10007
   (212)227-2980

   BY:
   John Ware Upton
   70 Lafayette Street, 7th Floor
   New York, NY 10013
   212-233-9300



   Dated: Mineola, NY

                                      , 2016

   CARNELL T. FOSKEY
   Nassau County Attorney


   BY:
   Thomas Lai
   Deputy County Attorney
   One West Street
   Mineola, New York 11501
   (516) 571-6074
   Attorney for the Defendant


   SO ORDERED:


   __________________________

   United States Magistrate Judge


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                          ACKNOWLEDGMENT PURSUANT TO
                       STIPULATION OF CONFIDENTIALITY IN
                      Grief v. Nassau County et al., 15-CV-7240 (ADS)(AYS)


          I,                                                       hereby certify:

          I have read the terms of the Stipulation of Confidentiality in Grief v. Nassau County

   et al., 15-CV-7240 (ADS)(AYS) and I agree to be fully bound by, and comply with, the

   Stipulation of Confidentiality in all respects. I also submit, and waive any objection, to the

   jurisdiction of the United States District Court for the Eastern District of New York (the "Court")

   for the adjudication of any dispute concerning or related to my compliance with the

   Stipulation and Order of Confidentiality. I understand that any violation of the terms of the

   Stipulation and Order of Confidentiality may be punishable by money damages, interim or final

   injunctive or other equitable relief, sanctions, contempt of court, or other or additional relief

   as deemed appropriate by the Court.

                                                        Signature: ___________________________

                                                        Please print or type the following:

                                                        Name: ______________________________

                                                        Employer: ___________________________

                                                        Title: _______________________________

                                                        Work Telephone: _____________________

                                                        Home Telephone: _____________________

                                                        Mobile Telephone: ____________________

                                                        Home Address: _______________________

                                                        Email Address: _______________________




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